         Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 1 of 9




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


                                                     )
TANYA M.BUTLER,                              )
                                                     )
                                  Plainti軋       )
                                                     )
               V.                          )     C市          il Action No.15‑1820(JEB)
                                                     )
RICHARD V.SPENCER,Secretary,                     )
U.S.Department ofthe Navy,                       )
                                                     )
                                 Defendant. )
                                                     )



               JOINT STIPULATION OF SETTLEMENT AND DISMISSAL

        Plaintiff, Tanya M. Butler ("Plaintiff') and Defendant, Richard V Spencer, Secretary,

United States Department of the Navy (the "Agency" or "Defendant"), by and through their

respective undersigned counsel, hereby enter into the following Stipulation of Settlement and

Dismissal ("Stipulation")   :



        1.     The parties enter into this Stipulation in order to make full and final settlement         of

any and all matters that Plaintiff raised or could have raised in this action. Plaintiff agrees to

accept the terms set forth herein in   full satisfaction of, and in exchange for   a   full release of,

any and all claims, demands, rights and causes of action of any nature based upon and related to

this cause of action and to her employment with the Agency through the effective date of this

Stipulation.

       2.      Settlement Payment. Defendant shall pay Plaintiff the sum of $85.300.

Defendant shall pay Plaintifls Counsel the sum of $65.000 in attorneys' fees. Payment shall be

made as promptly as practicable, consistent with the normal processing procedures followed by

the Department of Justice and the Department of the Treasury following the provisional
         Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 2 of 9




dismissal of the above-captioned civil action. The request for payments indicated in this

Agreement will be submitted by Defendant within 5 business days after this Release has been

fully executed by all partied. Defendant and the United      States and its employees shall have no

further liability for any amounts. Plaintifls counsel shall be responsible for the distribution          of

the payment among Plaintiff and Plaintiffs counsel. This payment may be made by electronic

transfer to the bank account specified by Plaintiff s counsel.

        3.      Restore   Leave. Defendant shall    restore eighty (80) hours of annual leave and

forty (40) hours of sick leave to the Plaintiff up to the maximum allowed by law, regulation or

Agency policy. In no event willthe Agency restore more than eighty (80) hours of annual leave and forty

(40) hours of sick leave or more than is allowed by law, regulation or Agency policy.

        4.      Training. The parties agree that EEO training regarding discrimination   will   continue in

the workplace to included training regarding sexual harassment.

        5.       Supervisory Chain of Command. Defendant agrees that Plaintiff will not be

required to work under the supervision of William Campbell or Jodie Sees.

        6.      Documents. Defendant will remove any negative information in Plaintiff               s


personnel file related to claims and causes of action asserted herein.

        7.      OWBPA Compliance. Plaintiff agrees to waive the twenty-one calendar days

within which to consider this Stipulation, pursuant to the Older Workers Benefit Protection Act

("OWBPA") and that the waiver of her rights and claims herewith is a knowing and voluntary

waiver. Plaintiff may revoke her agreement to this Stipulation during the seven (7) calendar day

period following her execution hereof. Such revocation must be in writing and delivered to

Defendant's Counsel on or before the seventh calendar day after the date on which Plaintiff signs

this Stipulation. Plaintiff is advised to consult with an attomey prior to signing this Stipulation.

By her signature below, Plaintiff s Counsel represents that: (i) she has served as Plaintifls
          Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 3 of 9




attorney with respect to this matter; (ii) she has examined this Stipulation and has discussed its

terms with Plaintiff; and (iii) she believes that the requirements set forth in 29 U.S.C.

$   626(0(1)(A) (G) have been fully satisfied in connection with this settlement agreement.

         8.       Dismissal with Prejudice. Unless Plaintiff timely exercises her right to rescind

this Stipulation, as provided in Paragraph 4 hereof, the filing of this Stipulation shall constitute a

provisional dismissal of the above-captioned civil action against Defendant. Plaintiff will have

the right to reinstated this case if payment and entitlements are not received within sixty (60)

days of the request for processing parties request that the Court enter this Stipulation as an Order

so as to retain   jurisdiction to enforce the terms thereof. Counsel for Defendant must file the fully

executed Stipulation immediately upon expiration of the revocation period in Paragraph 4.

Plaintiff agrees that execution of this Stipulation by her and the Defendant shall constitute      a

voluntary dismissal with prejudice of the matters pending against Defendant under Federal Rule

of Civil Procedure al(a)(1) including in the above-styled action.

         9-       Release. This Stipulation provides for the full and complete satisfaction of all

claims which have been or could have been asserted by Plaintiff in the above-captioned civil

action and with respect to Plaintiff s employment with the Agency, including without limitation

all claims for compensatory damages, back pay, front pay, costs, attorney's fees, and interest or

other compensation for delay, and Plaintiff agrees not to hereafter assert any claim or institute or

prosecute any civil action or other proceeding against the Defendant, the Agency, or the United

States, its agencies or officials, or its present or former employees or agents, in either their

official or individual capacities, with respect to any event complained of or that could have been

complained of at any time up to the effective date of this Stipulation. Plaintiff hereby fully and

forever releases and discharges the Defendant, the Agency, and the United States, its agencies



                                                    3
         Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 4 of 9




and officials, and its present and former employees and agents, in their     official and individual

capacities, from any and all rights and claims of every kind, nature, and description, whether

presently known or unknown, which Plaintiff now has or may have arising out of or in

connection with any event occurring on or before the date on which she has executed this

Stipulation, including without limitation any rights or claims under the Equal Pay Act of 1963,

Title VII of the Civil Rights Act of 7964,the Age Discrimination in Employment Act of 7967,

the Rehabilitation Act of 1973,the Civil Service Reform Act of 1978, the Older Workers Benefit

Protection Act of 1990, the Civil Rights Act of 1991, and the Family and Medical Leave Act          of
1991, all as amended and currently in    effect. In connection with this release, Plaintiff

acknowledges that she is aware that she may hereafter discover rights or claims presently

unknown and unsuspected, or facts in addition to or different from those which she now knows

with respect to the rights and claims released herein. Nevertheless, Plaintiff agrees, through this

Stipulation, to settle and release all such rights and claims; provided, however, that nothing in

this Stipulation shall affect: (i) any rights or claims that may arise after the date Plaintiff signs

this Stipulation, except for claims involving alleged discriminatory compensation decisions or

practices that occurred before the date Plaintiff signs this Stipulation which may affect Plaintiffls

future compensation, or (ii) Plaintiff s right or entitlement to any retirement, health, or similar

employee benefits that are available generally to present and former Agency employees based on

their federal service.

        10.     No Assignment. Plaintiff represents and warrants that she is the sole lawful

owner of all the rights and claims which she has settled and released herein, and that she has not

transferred or assigned any of those rights and claims or any interest therein. Plaintiff shall

indemnify, hold harmless, and defend the Defendant, the Agency, and the United States, its



                                                   4
            Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 5 of 9




agencies and officials, and its present and former employees and agents, in their   official and

individual capacities, from and against any transferred, assigned, or subrogated interests in those

rights and claims.

        I   1.   No Admission of   Liabilitv. This Stipulation has been entered into by Plaintiff

and Defendant solely for the purposes of compromising disputed claims without protracted legal

proceedings and avoiding the expense and risk of such litigation. Therefore, this Stipulation is

not intended and shall not be deemed to be an admission by either party of the merit or lack       of
merit of the opposing party's claims and defenses. Without limiting the generality of the

foregoing, this Stipulation does not constitute, and shall not be construed as, an admission that

Defendant, the Agency, or any of the Agency's present or former employees or agents violated

any of Plaintiff s rights or any laws or regulations, or as an admission of any contested fact

alleged by Plaintiff in connection with this case or otherwise. This Stipulation may not be used

as evidence or otherwise in any   civil or administrative action or proceeding against Defendant,

the Agency, or the United States or any of its agencies or officials or present or former

employees or agents, either in their official or individual capacities, except for proceedings

necessary to implement or enforce the terms hereof.

        12.      Entire Agreement. This Stipulation contains the entire agreement between the

parties hereto and supersedes all previous agreements, whether written or oral, between the

parties relating to the subject matter hereof. No promise or inducement has been made except as

set forth herein, and no representation or understanding, whether written or oral, that is not

expressly set forth herein shall be enforced or otherwise be given any force or effect in

connection herewith.




                                                  5
           Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 6 of 9




           13.   Amendments. The terms of this Stipulation may not be modified or amended, and

no provision hereof shall be deemed waived, except by a written instrument signed by both

parties.

           14.   Construction. The parties acknowledge that the preparation of this Stipulation

was collaborative in nature, and so agree that any presumption or rule that an agreement is

construed against its drafter shall not apply to the interpretation of this Stipulation or any term or

provision hereof.

           15.   Headings. The paragraph headings in this Stipulation have been inserted for

convenience of reference only, and shall not limit the scope or otherwise affect the interpretation

ofany term or provision hereof.

           16.   Severability. The provisions of this Stipulation are severable, and any invalidity

or unenforceability of any one or more of its provisions shall not cause the entire agreement to

fail or affect the validity or enforceability of the other provisions herein, which shall be enforced

without the severed provision(s) in accordance with the remaining provisions of this Stipulation.

           17.   Further Assurances. Each party agrees to take such actions and to execute such

additional documents as may be necessary or appropriate to fully effectuate and implement the

terms of this Stipulation.

           18.   Rieht to Cure. If either party at any time believes that the other party is in breach

of this Stipulation, that party shall notifu the other party of the alleged breach. The other party

shall then have thirty (30) days to cure the breach or otherwise respond to the claim. The parties

shall make a good faith effort to resolve any dispute arising from or regarding this Stipulation

before bringing the dispute to the Court's attention. Attorneys' fees and cost shall be the

responsibility of the party determined to have breached this agreement. The Court shall retain



                                                   6
           Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 7 of 9




jurisdiction over this Settlement Agreement, including to hear disputes regarding it and to

enforce its terms.

          19.    Notices. Any notice required or permitted to be given pursuant to this Stipulation

shall be in writing and shall be delivered by hand, or transmitted by fax or by e-mail, addressed

as   follows or as each party may subsequently specifu by written notice to the other:

                 If to Plaintiff:       Tanya M. Butler

                 With copy   to:       Donna Williams Rucker
                                       Tully Rinckey PLLC
                                       815 Connecticut Ave NW
                                       Suite 720
                                       Washington, DC 20006

                 If to Defendant: Brian       J. Sheppard
                                       Office of Counsel
                                       Naval District Washinglon

                 With copy   to:       Wyneva Johnson
                                       Assistant United States Attorney
                                       555 Fourth Street, N.W., Rm. E4106
                                       Washington, D.C. 20530
                                       and
                                       Chief, Civil Division
                                       Office of the United States Attorney
                                       for the District of Columbia
                                       555 Fourth Street, N.W.
                                       Washington, D.C. 20530

         20.     Execution. This Stipulation may be executed in two or more counterparts, each of

which shall be deemed to be an original and all of which together shall be deemed to be one and

the same agreement. A facsimile or other duplicate of a signature shall have the same effect as a

manually-executed original.

         21.     Governins Law. This Stipulation shall be govemed by the laws of the District of

Columbia, without regard to the choice of law rules utilized in that jurisdiction, and by the laws

of the United States.
         Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 8 of 9




       22.     Binding Effect and Effective    Date.   Upon execution of this Stipulation by all

parties hereto, this Stipulation shall be binding upon and inure to the benefit of the parties and

their respective heirs, personal representatives, administrators, successors, and assigns; provided,

however, that the Settlement Agreement herein shall not become effective or enforceable until

the revocation period provided for in Paragraph 4 hereof has expired. Each signatory to this

Stipulation represents and wa^rrants that he or she is fully authorized to enter into this Stipulation.




                                                   8
    Case 1:15-cv-01820-JEB Document 25 Filed 08/10/18 Page 9 of 9




       IN WIfNESS WHEREOF, the parties hereto, intending to be legally bormd, heve

executed this Stipulation on the dates shoum below.




饉 〃L7/̲
                                                      Respectfully zubmitted,


           И.BUTLER
Plaintir
                                                   JESSIE K.LIU。 ,D.C.Bar#472845
Date:望
           率 璽∠                                    U重 掟d States Attomey forthe Dimict Of
                                                   Columbia

                                                   DANIEL F.VAN HORN,DoC.Bar燿 )24092
                                                   Chiet Ci宙 l DE宙 sion




                                                   By: lslWlmeva Johnson

                                                   WYNEVA JOHNSON,D.C.
                                                   Assistant United States Attomey
                                                   555 4th Stttet,NoW.
                                                   W鳳 血 鉗 )L DoC̲20530
                                                   Tel:202)252‐ 2518
                                                   WpeV呵     OhnsOno鋼            .gOV

                                                      Co― l      for Defendant

                                                      OfComsel:
                                                      BRIAN J.SHEPPARD
                                                      O嘔 ice ofCOunsel
                                                      Naval Ditti∝ Washington


                 S00RDERED onthis̲̲̲day of                             2018.


                                LInited States I)istrict Judge




                                              9
